Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 1 of 8




         EXHIBIT A
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 2 of 8
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 3 of 8
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 4 of 8
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 5 of 8
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 6 of 8
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 7 of 8
Case 5:19-cv-00055-TKW-MJF Document 54-1 Filed 05/04/20 Page 8 of 8
